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 1
     Douglas D. Phelps
 2   Phelps & Associates, P.S.
 3   2903 N. Stout Road
     Spokane, WA 99206
 4
     Phone: (509)892-0467
 5   Fax: (509)921-0802
 6
     ISBA # 4755

 7                          UNITED STATES DISTRICT COURT
 8                           FOR THE DISTRICT OF IDAHO
 9
     PATRICK L. GROM, a single                      Case No. ______________
10   person,
                                                    COMPLAINT FOR CIVIL
11
                                      Plaintiff,    RIGHTS VIOLATIONS UNDER
12                                                  42 U.S.C. § 1983
13
     vs.
14
     CITY OF COEUR D’ALENE, ,
15   CHIEF OF POLICE LEE WHITE,
     SERGEANT JEFF WALTHER, and
16
     OFFICER JOSEPH SCHOLTEN,
17   individually and in his official
18
     capacity as a police officer for the
     City of Coeur d’Alene,
19

20                                Defendants.
21
           COMES NOW the Plaintiff, PATRICK L. GROM, by and through his
22

23
     attorney, DOUGLAS D. PHELPS of PHELPS & ASSOCIATES, P.S., and for a

24   cause of action against the Defendants above-named alleges as follows:
25
                                      I. INTRODUCTION
26

27         1.1    This is a civil action seeking compensatory and punitive damages
28
     against the Defendants for police brutality and excessive force, and for
       COMPLAINT FOR CIVIL RIGHTS
       VIOLATIONS UNDER 42 U.S.C. § 1983 – Page 1
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 1
     committing acts under color of law, depriving the Plaintiff of rights secured by the

 2   United States Constitution and the laws of the United States. Defendant Joseph
 3
     Scholten, while acting in his capacity as an employee of the City of Coeur
 4

 5   d’Alene, acted to and did in fact deprive the Plaintiff of his constitutional rights.
 6
           1.2    Additionally, the acts of the City of Coeur d’Alene, Police Chief Lee
 7

 8   White and Sergeant Jeff Walthen violated the Plaintiff’s rights pursuant to the
 9
     United States Constitution, 42 U.S.C. Section 1983 and 1988, under the Civil
10
     Rights Act of 1971 and the common law.
11

12         1.3    The Plaintiff suffered injury after he was aggressively and without
13
     authority of law assaulted by Joseph Scholten and then repeatedly struck in the
14

15   face with a closed fist while Plaintiff was unconscious on the ground and not
16
     physically resisting.
17

18
                             II. JURISDICTION AND PARTIES

19         2.1    This action is brought pursuant to 42 USC Section 1983 and 1988,
20
     under the Civil Rights Act of 1971, alleging that the Defendants acted under the
21

22   color of law, depriving the Plaintiff of his rights, privileges, and immunities as
23
     guaranteed by the Fourth, Fifth, Eighth, and Fourteenth Amendments to the
24

25   United States Constitution.
26
           2.2    This Court has jurisdiction of this cause under 28 U.S.C. Sections
27
     1331 and 1343 and 42 U.S.C. Section 1983.
28


       COMPLAINT FOR CIVIL RIGHTS
       VIOLATIONS UNDER 42 U.S.C. § 1983 – Page 2
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 1
              2.3   All acts and omissions complained of occurred in the District of

 2   Idaho.
 3
              2.4   Plaintiff Patrick Grom was at all times relevant hereto a resident of
 4

 5   Kootenai County, Washington.
 6
              2.5   Defendant City of Coeur d’Alene is a governmental entity organized
 7

 8   under the Idaho Code and located in Coeur d’Alene, Kootenai County, Idaho.
 9
              2.6   Defendant Police Chief Lee White, at the time of the incidents
10
     alleged in this complaint, was the Chief of Police for the Coeur d’Alene Police
11

12   Department, Idaho.
13
              2.7   Defendant Sergeant Jeff Walthen, at the time of the incidents alleged
14

15   in this complaint, was working as a supervisory police officer for the Coeur
16
     d’Alene Police Department, Idaho.
17

18
              2.8   Defendant Joseph Scholten, individually and in his official capacity,

19   based upon information and belief is believed to be a resident of Kootenai County,
20
     Idaho, and was a law enforcement officer employed by the City of Coeur d’Alene
21

22   at all times relevant to this action.
23
              2.9   All defendants are believed to reside in Kootenai County, Idaho.
24

25            2.10 The venue is proper in the District of Idaho under 28 U.S.C. Section
26
     1391 in that the Defendants and Plaintiff resided in, and the cause of action arises
27
     in, the District of Idaho.
28


       COMPLAINT FOR CIVIL RIGHTS
       VIOLATIONS UNDER 42 U.S.C. § 1983 – Page 3
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 1
                                  III. FACTUAL HISTORY
 2         3.1      On or about October 26, 2016 at approximately 2152 hours Pacific
 3
     Standard Time, PATRICK GROM was contacted by Officer JOSEPH
 4

 5   SCHOLTEN and Sergeant JEFF WALTHER of the Coeur d’Alene Police
 6
     Department.
 7

 8         3.2      JOSEPH SCHOLTEN was working in his capacity as a sworn law
 9
     enforcement officer employed by the Police Department in the City of Coeur
10
     d’Alene.
11

12         3.3      JOSEPH SCHOLTEN was wearing a department issued police
13
     uniform, including a badge, firearm, handcuffs and other police equipment.
14

15         3.4      The contact between PATRICK GROM and JOSEPH SCHOLTEN
16
     occurred at an apartment complex in the 100 block of Hattie Avenue in the City of
17

18
     Coeur d’Alene, State of Idaho.

19         3.5      JOSEPH SCHOLTEN was operating marked police vehicle and was
20
     being supervised by Sergeant JEFF WALTHER at the time of the contact.
21

22         3.6      JOSEPH SCHOLTEN initiated a traffic stop of the vehicle being
23
     driven by PATRICK GROM for a minor traffic violation (i.e., failure to use a turn
24

25   signal).
26
           3.7      After being signaled to pull over by the police emergency lights,
27
     PATRICK GROM navigated his vehicle into a covered parking stall at the
28


       COMPLAINT FOR CIVIL RIGHTS
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 1
     apartment complex he had driven into and exited his vehicle, walking towards the

 2   police vehicle.
 3
           3.8    JOSEPH SCHOLTEN and JEFF WALTHER made contact with
 4

 5   PATRICK GROM at the front of the police vehicle.
 6
           3.9    JOSEPH SCHOLTEN conducted a weapons search of PATRICK
 7

 8   GROM, finding no weapons.
 9
           3.10 However, JOSEPH SCHOLTEN later noted in his report that he
10
     could smell the odor of alcoholic beverages coming from PATRICK GROM’s
11

12   person and noticed PATRICK GROM was slurring his words.
13
           3.11 PATRICK GROM complied with all the requests of the officers and
14

15   answered their questions truthfully. At no time was PATRICK GROM advised he
16
     was under arrest or not free to leave.
17

18
           3.12 JOSEPH SCHOLTEN walked away from PATRICK GROM and

19   began speaking with other officers who had arrived at the scene.
20
           3.13 PATRICK GROM then ran from the scene, crossing the street and
21

22   running through a car dealership’s parking lot.
23
           3.14 Officers pursued PATRICK GROM.
24

25         3.15 Upon reaching a large fence, PATRICK GROM surrendered to
26
     police, indicating his desire to comply by facing towards the officers and raising
27
     his hands in the air in a nonthreatening, submissive manner.
28


       COMPLAINT FOR CIVIL RIGHTS
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 1
           3.16 JOSEPH SCHOLTEN, who had been pursuing PATRICK GROM,

 2   then used the full weight of his body to tackle PATRICK GROM, taking them
 3
     both to the ground.
 4

 5         3.17 PATRICK GROM was knocked unconscious as a result of the force
 6
     of JOSEPH SCHOLTEN running into, tackling him and striking him.
 7

 8         3.18 JOSEPH SCHOLTEN landed on top of PATRICK GROM,
 9
     straddling PATRICK GROM with PATRICK GROM’s back on the grass.
10
           3.19 PATRICK GROM, dazed and confused having suffered a concussion
11

12   from being struck and knocked down, made no attempts to resist and instead
13
     intended to comply with the officers’ orders.
14

15         3.20 Without warning and due to JOSEPH SCHOLTEN’s apparent
16
     frustration and anger at having to chase PATRICK GROM, JOSEPH SCHOLTEN
17

18
     began to strike PATRICK GROM in the face several times with a closed fist,

19   causing serious facial injuries.
20
           3.21 JOSEPH SCHOLTEN’s closed fist strikes to PATRICK GROM’s
21

22   face were unnecessary and excessive due to PATRICK GROM being
23
     unconscious, in a position of unfair advantage and submitting to police
24

25   commands.
26
           3.22 Sergeant JEFF WALTHEN, upon arriving moments after JOSEPH
27
     SCHOLTEN tackled PATRICK GROM, observed JOSEPH SCHOLTEN strike
28


       COMPLAINT FOR CIVIL RIGHTS
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 1
     PATRICK GROM in the face several times with a closed fist but did not stop or

 2   warn his fellow officer to stop striking PATRICK GROM.
 3
           3.23 JEFF WALTHEN’s failure to act and/or intercede contributed to the
 4

 5   excessive force used against PATRICK GROM by JOSEPH SCHOLTEN.
 6
           3.24 PATRICK GROM was injured as a result of JOSEPH SCHOLTEN’s
 7

 8   negligence, violation of his constitutional rights under the 4th Amendment to the
 9
     U.S. Constitution, and lack of knowledge, training and supervision relating to
10
     basic police procedure, including use of force and restraining a non-violent
11

12   suspect.
13
           3.25 The CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
14

15   Sergeant JEFF WALTHEN have failed to provide sufficient training to their
16
     police officers.
17

18
           3.26 The CITY OF COEUR D’ALENE, Police Chief LEE WHITE and

19   Sergeant JEFF WALTHEN have engaged in a policy, practice or custom of
20
     encouraging and training their police officers to use physical force as a
21

22   punishment to persons suspected of crimes who flee or otherwise obstruct law
23
     enforcement.
24

25         3.27 The defendants, including those individually named, intended to
26
     deprive PATRICK GROM of his constitutional rights by their pattern and practice
27

28


       COMPLAINT FOR CIVIL RIGHTS
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 1
     of failing to train and/or training officers to use physical force on non-violent

 2   suspects such as PATRICK GROM.
 3
           3.28 The actions by JOSEPH SCHOLTEN caused severe and excruciating
 4

 5   pain to PATRICK GROM.
 6
           3.29 Plaintiff PATRICK GROM has suffered, and continues to suffer,
 7

 8   from ongoing physical and emotional pain due to the injuries he sustained in this
 9
     incident where JOSEPH SCHOLTEN used unnecessary and excessive force.
10
           3.30 The CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
11

12   Sergeant JEFF WALTHEN have failed to have proper procedures or protections
13
     in place to adequately document or investigate injuries to arrestees.
14

15         3.31 The CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
16
     Sergeant JEFF WALTHEN failed to have proper procedures in place to assure
17

18
     that other officers would take steps to protect citizens from assaultive behavior by

19   fellow officers.
20
          IV. CAUSE OF ACTION FOR VIOLATION OF PLAINTIFF’S
21
      CONSTITUTIONAL RIGHTS UNDER COLOR OF LAW PURSUANT
22   TO 42 USC 1983 (THE CIVIL RIGHTS ACT), THE U.S. CONSTITUTION
23
      AND THE IDAHO STATE CONSTITUTION, AND FOR EXCESSIVE
                      FORCE, ASSAULT AND BATTERY
24

25         Plaintiff PATRICK GROM re-alleges and incorporates paragraphs 3.1 to
26
     3.31 as paragraphs 4.1 to 4.31.
27

28


       COMPLAINT FOR CIVIL RIGHTS
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 1
           4.32 The Defendants caused or failed to prevent injury to PATRICK

 2   GROM in violation of his rights under 42 USC 1983.
 3
           4.33 That the Defendants CITY OF COEUR D’ALENE, Police Chief
 4

 5   LEE WHITE and Sergeant JEFF WALTHEN by custom, policy, or practice
 6
     caused the injury to PATRICK GROM by failing to train or supervise their police
 7

 8   officers relating to the proper use of force when confronting a citizen who is
 9
     suspected of violating state law.
10
           4.34 As a result of the deprivations and violations to PATRICK GROM’s
11

12   rights, he has suffered and continues to suffer injury as a result, including but not
13
     limited to physical, psychological, and emotional injuries.
14

15         4.35 PATRICK GROM was subjected to unlawful, excessive and
16
     unreasonable force by JOSEPH SCHOLTEN.                 There was no substantial
17

18
     government interest in using such significant force to effect PATRICK GROM’s

19   arrest for misdemeanor violations that are nonviolent and minor in nature.
20
           4.36 JOSEPH SCHOLTEN used excessive force in his arrest and
21

22   detention of PATRICK GROM in violation of the Fourth Amendment to the
23
     United States Constitution.
24

25         4.37 JOSEPH SCHOLTEN’s knocking PATRICK GROM unconscious
26
     and the use of closed fist strikes to the head and face of PATRICK GROM was
27

28


       COMPLAINT FOR CIVIL RIGHTS
       VIOLATIONS UNDER 42 U.S.C. § 1983 – Page 9
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 1
     unlawful, unreasonable, excessive and without provocation in violation of

 2   PATRICK GROM’s Fourth Amendment rights.
 3
           4.38 JOSEPH SCHOLTEN’s knocking PATRICK GROM unconscious
 4

 5   and the use of closed first strikes to the face and head of PATRICK GROM was
 6
     unlawful, unreasonable, excessive and without provocation and constituted assault
 7

 8   and battery upon PATRICK GROM.
 9
           4.39 As a result of the actions or inactions of CITY OF COEUR
10
     D’ALENE, Police Chief LEE WHITE and Sergeant JEFF WALTHEN, Plaintiff
11

12   PATRICK GROM suffered and continues to suffer injury, including but not
13
     limited to, injuries that are physical, psychological, and emotional.
14

15         4.40 The Defendants acted with reckless and callous indifference to
16
     PATRICK GROM’s rights and failed to prevent injury to PATRICK GROM
17

18
     which was a violation of his rights pursuant to the Fourth and Fourteenth

19   Amendments to the Constitution of the United States.
20
           4.41 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
21

22   Sergeant JEFF WALTHEN by custom, policy, or practice caused the deprivation
23
     of the rights of PATRICK GROM by allowing police officers to continually use
24

25   force beyond that which is necessary to subdue non-violent suspects, and such
26
     action is sanctioned by superiors within the Department and the City of Coeur
27
     d’Alene and is the moving force depriving the Plaintiff of his constitutional rights.
28


       COMPLAINT FOR CIVIL RIGHTS
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 1
           4.42 That as a result of the violations to PATRICK GROM’s

 2   constitutional rights, he has suffered and continues to suffer injury as a result of
 3
     his detainment and injuries.
 4

 5              V. CAUSE OF ACTION FOR NEGLIGENT TRAINING,
 6
                        RETENTION AND SUPERVISION

 7         Plaintiff PATRICK GROM re-alleges and incorporates paragraphs 3.1 to
 8
     3.31 as paragraphs 5.1 to 5.31.
 9

10         5.32 That JOSEPH SCHOLTEN failed to make efforts to de-escalate the
11
     contact prior to physically assaulting PATRICK GROM.
12

13
           5.33 That JOSEPH SCHOLTEN, after PATRICK GROM was knocked to
14
     the ground and unconscious, continued to inflict physical and emotional injury by
15
     striking PATRICK GROM in the face and head with closed fist strikes.
16

17         5.34 That the acts of JOSEPH SCHOLTEN were done with deliberate and
18
     reckless disregard of the injury to the Plaintiff, PATRICK GROM.
19

20         5.35 That the CITY OF COEUR D’ALENE, Police Chief LEE WHITE
21
     and Sergeant JEFF WALTHEN by custom, policy, or practice caused the
22

23
     deprivation of the rights of CALEB V. DORMAIER when they failed to train,

24   supervise and retain JOSEPH SCHOLTEN relating to use of force on non-violent
25
     persons suspected of violating minor misdemeanor laws.
26

27

28


       COMPLAINT FOR CIVIL RIGHTS
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 1
           5.36 That the Plaintiff, PATRICK GROM, was not actively resisting

 2   arrest in any way to justify the actions and the level of force used by JOSEPH
 3
     SCHOLTEN.
 4

 5         5.37 That the actions of JOSEPH SCHOLTEN were outside the scope of
 6
     necessary and reasonable force that should have been used to detain a citizen on a
 7

 8   misdemeanor law violation and caused injury to PATRICK GROM.
 9
           5.38 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
10
     Sergeant JEFF WALTHEN are liable for the actions of their officers when using
11

12   unnecessary and unreasonable force as they by policy, custom, and practice
13
     supported the actions of their officers by failing to implement, attempt or use de-
14

15   escalation practices when using physical force to subdue non-violent individuals
16
     suspected or believed by police to be involved in minor law violations.
17

18
           5.39 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and

19   Sergeant JEFF WALTHEN and the police officers employed by the CITY OF
20
     COEUR D’ALENE, including the individually named defendant, engage in a
21

22   pattern or practice and have failed to act and/or follow and implement a
23
     continuum of force policy to prevent the unnecessary escalation of force when
24

25   dealing with PATRICK GROM and other members of the public, which is the
26
     moving force depriving PATRICK GROM of the aforementioned constitutional
27
     rights violations.
28


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 1
           5.40 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and

 2   Sergeant JEFF WALTHEN and the police officers employed by the CITY OF
 3
     COEUR D’ALENE, including the individually named defendant, engage in a
 4

 5   pattern or practice of the use of excessive force on subjects who are already taken
 6
     into custody, handcuffed or otherwise restrained.          These uses of force are
 7

 8   unjustified based on the diminished threat posed by the restrained suspects and the
 9
     force inflicted significant injuries upon the Plaintiff.
10
           5.41 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
11

12   Sergeant JEFF WALTHEN and the police officers employed by the CITY OF
13
     COEUR D’ALENE, including the individually named defendants, engage in a
14

15   pattern or practice of using unnecessary or excessive force in the course of
16
     arresting individuals for minor offenses in violation of the constitutional rights of
17

18
     the individuals.

19         5.42 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
20
     Sergeant JEFF WALTHEN and the police officers employed by the CITY OF
21

22   COEUR D’ALENE, including the individually named defendants, engage in a
23
     pattern or practice of not properly training their police officers to the police
24

25   industry standard and by failing to properly train officers, unnecessarily risk injury
26
     to the public and persons with whom said officers interact.
27

28


       COMPLAINT FOR CIVIL RIGHTS
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 1
           5.43 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and

 2   Sergeant JEFF WALTHEN are liable for violating the constitutional rights of
 3
     PATRICK GROM when, on the City’s behalf by custom, policy, or practice
 4

 5   encouraged the acts of their employees.
 6
           5.44 That as a result of the actions or inactions of the Defendants,
 7

 8   PATRICK GROM suffered and continues to suffer injury as a result of the
 9
     excessive use of force used to detain him and injuries, including but not limited to
10
     physical, psychological, and emotional.
11

12         5.45 That the Defendants CITY OF COEUR D’ALENE, Police Chief
13
     LEE WHITE and Sergeant JEFF WALTHEN are liable for the actions of their
14

15   employees where they encouraged the acts by custom, policy, or practice which
16
     resulted in the causation of and failure to prevent injury to PATRICK GROM.
17

18
           5.46 That Defendants CITY OF COEUR D’ALENE, Police Chief LEE

19   WHITE and Sergeant JEFF WALTHEN, are liable for the actions of their
20
     employees for failing to train said employees in procedures involving the use of
21

22   closed fist strikes, police searches, interactions with citizens, and training to
23
     prevent the use of excessive force which resulted in the injury to PATRICK
24

25   GROM.
26

27

28


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 1
           5.47 That as a result of the actions or inactions of the employees of CITY

 2   OF COEUR D’ALENE, Police Chief LEE WHITE and Sergeant JEFF
 3
     WALTHEN, Plaintiff PATRICK GROM suffered and continues to suffer injury.
 4

 5         5.48 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
 6
     Sergeant JEFF WALTHEN failed to adequately and fully train law enforcement
 7

 8   officers on when to use intermediate levels of force, resulting in the injury of
 9
     PATRICK GROM.
10
           5.49 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
11

12   Sergeant JEFF WALTHEN intentionally, willfully, recklessly and/or negligently
13
     created no training programs for police officers employed by the CITY OF
14

15   COEUR D’ALENE, and in so doing created a situation where police officers were
16
     patrolling the streets, responding to criminal acts and interacting with citizens
17

18
     when the police officers had inadequate, little or no training in how to properly

19   deal with the situations they were confronting.
20
           5.50 That as a result of the negligent training, PATRICK GROM suffered
21

22   and continues to suffer injury.
23
           5.51 That Defendants CITY OF COEUR D’ALENE, Police Chief LEE
24

25   WHITE and Sergeant JEFF WALTHEN are liable for the actions of their
26
     employees for failing to supervise said employees in procedures involving use of
27

28


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 1
     force, arrest procedures, police searches and interactions with citizens, which

 2   resulted in the injury to PATRICK GROM.
 3
           5.52 That as a result of the actions or inactions of the employees of CITY
 4

 5   OF COEUR D’ALENE, Police Chief LEE WHITE and Sergeant JEFF
 6
     WALTHEN, PATRICK GROM suffered and continues to suffer injury.
 7

 8         5.53 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
 9
     Sergeant JEFF WALTHEN failed to adequately and fully supervise law
10
     enforcement officers, resulting in the injury of PATRICK GROM.
11

12         5.54 That as a result of the negligent supervision, PATRICK GROM
13
     suffered and continues to suffer injury.
14

15         5.55 That Defendants CITY OF COEUR D’ALENE, Police Chief LEE
16
     WHITE and Sergeant JEFF WALTHEN are liable for the actions of their
17

18
     employees for failing to discharge PATRICK GROM, who was not properly

19   trained as a police officer, was known to have been involved in improper action or
20
     criminal activity against citizens (both suspected of crimes and improperly and
21

22   unlawfully suspected of crimes), which resulted in the injury to PATRICK
23
     GROM.
24

25         5.56 That CITY OF COEUR D’ALENE, Police Chief LEE WHITE and
26
     Sergeant JEFF WALTHEN encouraged such actions by custom, policy, and
27

28


       COMPLAINT FOR CIVIL RIGHTS
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 1
     practice of not removing officers who were unnecessarily violent and/or

 2   improperly trained, such as JOSEPH SCHOLTEN.
 3
           5.57 That as a result of the actions or inactions of CITY OF COEUR
 4

 5   D’ALENE, Police Chief LEE WHITE and Sergeant JEFF WALTHEN,
 6
     PATRICK GROM suffered and continues to suffer injury.
 7

 8         5.58 That as a result of the negligent retention, PATRICK GROM
 9
     suffered and continues to suffer injury.
10
           5.59 Plaintiff demands a jury on all issues so triable.
11

12                                  VI. RELIEF SOUGHT
13
           WHEREFORE, the Plaintiff prays for judgment against the Defendants,
14

15   jointly and severally, in an amount that will fairly compensate the Plaintiff for all
16
     damages sustained, costs, and reasonable attorneys’ fees and costs, interest
17

18
     calculated at the maximum amount allowable by the law, and any other relief the

19   Court deems just, including but not limited to:
20
               a. Past and future medical expenses.
21
               b. Past and future emotional and psychological counseling costs.
22             c. Past and future loss of earnings.
23
               d. Permanent and partial impairment of earnings and earning capacity.
               e. Pain and suffering.
24             f. Past and future permanent and partial disability.
25             g. Loss of enjoyment of life.
               h. Past and future special damages.
26
               i. Interest calculated at the maximum amount allowable by law,
27                including prejudgment interest.
               j. Injunctive relief to prevent future actions to protect others similarly
28
                  situated.
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 1
             k. Injunctive relief including but not limited to training or retraining
                officers of the City of Coeur d’Alene Police Department
 2           l. Punitive damages.
 3           m. Actual or compensatory damages.
             n. Nominal damages.
 4
             o. Attorneys’ fees and cost.
 5           p. Cost and disbursements herein in an amount to be proven at the time
 6
                of trial.
             q. Such other relief as the Court believes is equitable and just.
 7

 8       DATED this 22nd day of October, 2018.
 9
                                             PHELPS & ASSOCIATES, P.S.
10                                           Attorneys for Plaintiff
11
                                             /s/ Douglas D. Phelps
12                                           DOUGLAS D. PHELPS, ISBA # 4755
13
                                             2903 N. Stout Road
                                             Spokane, WA 99206
14
                                             Tel: (509) 892-0467, Fx: (509) 921-0802
15                                           phelps@phelpslaw1.com
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